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            EXHIBIT B
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                                                            Frequently Asked Questions

                                                 Please find below answers to frequently asked questions

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                    1. What is this Lawsuit About?

                        The lawsuit alleges that Defendants and co-conspirators conspired to raise and fix the prices of CRTs and
                        the CRTs contained in certain finished products for over ten years, resulting in overcharges to direct
                        purchasers of those CRTs and certain finished products containing CRTs. The complaint describes how the
                        Defendants and co-conspirators allegedly violated the U.S. antitrust laws by establishing a global cartel that
                        set artificially high prices for, and restricted the supply of, CRTs and the televisions and monitors that
                        contained them. Defendants deny Plaintiffs' allegations. The Court has not decided who is right.

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                    2. Why are there Settlements but the Litigation is Continuing?

                        Only some of the Defendants have agreed to settle the lawsuit - CPT, Philips, Panasonic, LG, Toshiba,
                        Hitachi, and Samsung SDI. The case is continuing against the remaining non-settling defendants and co-
                        conspirators. Additional money may become available in the future as a result of a trial or future settlements,
                        but there is no guarantee that this will happen.

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                    3. How do I know if I'm part of the Settlement Class?


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                        The Settlement Class includes all persons and entities who, between March 1, 1995 and November 25, 2007
                        the ("Class Period") directly purchased a CRT Product in the United States from any Defendant or subsidiary
                        or affiliate thereof, or any co-conspirator.

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                    4. What is a Direct Purchase?

                        A direct purchase means that the CRT was purchased directly from one or more of the Defendants, co-
                        conspirators, affiliates, or subsidiaries themselves, as opposed to an intermediary (such as a retail store).

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                    5. What do the Settlements Provide?

                        The settlement with CPT provides for payment of $10,000,000 in cash, plus interest. The settlement also
                        provides for extensive cooperation with Plaintiffs regarding the antitrust conspiracy alleged in the complaint. In
                        addition, CPT's sales remain in the case for the purpose of computing damages against the remaining non-
                        settling defendants. Finally, the settlement provides that $500,000 of the $10 million settlement fund, subject
                        to Court approval, may be used to pay expenses incurred in the litigation for prosecution of the action on
                        behalf of the Settlement Class against non-settling defendants.

                        The Settlement with Philips provides for payment of $27,000,000 in cash; however, the $27 million settlement
                        amount is subject to reduction based on the number of exclusions from the Settlement Class after notice. The
                        detailed reduction formula is set forth in the Philips settlement which is available here. The settlement also
                        provides for extensive cooperation with Plaintiffs regarding the antitrust conspiracy alleged in the complaint. In
                        addition, Philips' sales remain in the case for the purpose of computing damages against the remaining non-
                        settling defendants and co-conspirators. Finally, the settlement provides that $500,000 of the settlement fund,
                        subject to Court approval, may be used to pay expenses incurred in the litigation for prosecution of the action
                        on behalf of the purported class against non-settling defendants and co-conspirators.

                        The Settlement with Panasonic provides for a payment in the amount of $17,500,000 in cash to the Settlement
                        Class. Panasonic has also agreed to cooperate with the Plaintiffs in providing certain information about the
                        allegations in the complaint. In addition, Panasonic and BMCC's sales remain in the case for the purpose of
                        computing damages against the remaining non-settling defendants and co-conspirators.

                        The Settlement with LG provides for a payment in the amount of $25,000,000 in cash to the Settlement Class.
                        LG also agreed to cooperate with the Plaintiffs in providing certain information about the allegations in the
                        complaint. In addition, LG's sales remain in the case for the purpose of computing damages against the
                        remaining non-settling defendants and co-conspirators.

                        The Settlement with Toshiba provides for a payment in the amount of $13,500,000 in cash to the Settlement
                        Class. The Settling Defendants also agreed to cooperate with the Plaintiffs in providing certain information
                        about the allegations in the complaint. In addition, the Settling Defendants' sales remain in the case for the
                        purpose of computing damages against the remaining non-settling defendants and co-conspirators.

                        The Settlement with Hitachi provides for a payment in the amount of $13,450,000 in cash to the Settlement
                        Class. The Settling Defendants also agreed to cooperate with the Plaintiffs in providing certain information
                        about the allegations in the complaint. In addition, the Settling Defendants' sales remain in the case for the
                        purpose of computing damages against the remaining non-settling defendants and co-conspirators.

                        The Settlement with Samsung SDI provides for a payment in the amount of $33,000,000 in cash to the
                        Settlement Class. The Settling Defendants also agreed to cooperate with the Plaintiffs in providing certain
                        information about the allegations in the complaint. In addition, the Settling Defendants' sales remain in the
                        case for the purpose of computing damages against the remaining non-settling defendants and co-
                        conspirators.

                        More details are in the Settlement Agreements, which are available here.

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                    6. When Can I Get a Payment?

                        No money will be distributed to any Settlement Class Member yet. The lawyers will pursue the lawsuit against

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                        the non-settling defendants and co-conspirators to see if any future settlements or judgments can be
                        obtained in the case and then be distributed together, to reduce expenses.

                        Any future distribution of the Settlement Funds will be done on a pro rata basis. Identified Settlement Class
                        Members will be notified in the future when and where to send a claim form. DO NOT SEND ANY CLAIMS
                        NOW.

                        In the future, each Settlement Class member's pro rata share of the Settlement Fund will be determined by
                        computing each valid claimant's total CRT Product purchases divided by the total valid CRT Product
                        purchases claimed. This percentage is multiplied to the Net Settlement Fund (total settlements minus all
                        costs, attorneys' fees, and expenses) to determine each claimants pro rata share of the Settlement Fund. To
                        determine Settlement Class Members' CRT Product purchases, CRT tubes (color display and color picture)
                        are calculated at full value (100%) while CRT televisions are valued at 50% and CRT computer monitors are
                        valued at 75%.

                        In summary, all valid claimants will share in the settlement funds on a pro rata basis determined by the CRT
                        value of the product purchased - tubes 100%, monitors 75% and televisions 50%.

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                    7. What if I want to Get out of the Settlement Class?

                        If you are a Settlement Class Member and you would like to exclude yourself from the Hitachi Settlement
                        Class and/or the Samsung SDI Settlement Class, you must send a letter that includes the following:

                                Your name, address and telephone number;
                                A statement saying that you want to be excluded from In re Cathode Ray Tube (CRT) Antitrust
                                Litigation, MDL No. 1917, Hitachi Settlement and/or Samsung SDI Settlement; and
                                Your signature.


                        You must mail your exclusion request, postmarked no later than June 12, 2014, to:

                        CRT Claims Administrator
                        c/o Gilardi & Co. LLC
                        P.O. Box 8090
                        San Rafael, CA 94912-8090

                        The deadlines to request exclusion from the CPT, Philips, Panasonic, LG, and Toshiba Settlements have
                        passed.

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                    8. Can I Object to the Terms of the Settlements?

                        If you are a Settlement Class Member and have comments about, or disagree with, any aspect of the Hitachi
                        Settlement and/or the Samsung SDI Settlement, you may express your views to the Court by writing to the
                        addresses below. The written response needs to include your name, address, telephone number, the case
                        name and number (In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917), a brief explanation of
                        your reasons for objection, and your signature. The response must be postmarked no later than June 12,
                        2014 and mailed to ALL of the following addresses:


                        COURT
                        Honorable Samuel Conti
                        United States District Court Northern District of California
                        San Francisco Division
                        450 Golden Gate Avenue
                        Courtroom 3, 17th Floor
                        San Francisco, CA 94102


                        INTERIM LEAD COUNSEL
                        Guido Saveri
                        R. Alexander Saveri

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                        SAVERI & SAVERI, INC.
                        706 Sansome Street
                        San Francisco, CA 94111


                        COUNSEL FOR SAMSUNG SDI
                        Gary Halling
                        SHEPPARD MULLIN RICHTER & HAMPTON LLP
                        Four Embarcadero Center, 17th Floor
                        San Francisco, CA 94111-4109


                        COUNISEL FOR HITACHI
                        James H. Mutchnik
                        Kirklan & Ellis LLP
                        300 North LaSalle
                        Chicago, IL 60654


                        The deadlines to comment on or object to the CPT, Philips, Panasonic, LG, and Toshiba Settlements have
                        passed.

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                    9. What Am I Giving Up to Stay in the Settlement Class?

                        If you are a member of the Settlement Class and unless you exclude yourself from the Settlement Class, you
                        can't sue the Settling Defendants, or be part of any other lawsuit against Settling Defendants about the legal
                        issues in this case. It also means that all of the decisions by the Court will bind you. The "Release of Claims"
                        includes any causes of actions asserted or that could have been asserted in the lawsuit, as described more
                        fully in the Settlement Agreements. The Settlement Agreements are available here.

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                   10. When and Where Will the Court Decide Whether to Approve the Settlements?

                        Hitachi Settlement and Samsung SDI Settlement: The Court will hold a Fairness Hearing at 10:00 a.m. on
                        August 22, 2014, at the United States District Court for the Northern District of California, San Francisco
                        Division, in Courtroom 1 on the 17th Floor, at 450 Golden Gate Ave. This hearing may be moved to a different
                        date or time without additional notice, so it is a good idea to check this website for updated information. At this
                        hearing, the Court will consider whether the Settlements are fair, reasonable and adequate. If there are
                        objections or comments, the Court will consider them at that time. After the hearing, the Court will decide
                        whether to approve the pertaining Settlements. We do not know how long these decisions will take.

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                   11. Do I Have to Come to the Hearing?

                        No. Interim Lead Counsel will answer any questions the Court may have, but you are welcome to come at
                        your own expense. If you send an objection or comment, you don't have to come to Court to talk about it. As
                        long as you mailed your written objection on time, the Court will consider it. You may also pay another lawyer
                        to attend, but it's not required.

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                   12. May I Speak at the Hearings?

                        If you are a Settlement Class Member and you want your own lawyer instead of Interim Lead Counsel to
                        speak at the Hitachi and Samsung SDI Final Approval Hearing, you must give the Court a paper that is called
                        a "Notice of Appearance." The Notice of Appearance should include the name and number of the lawsuit (In re
                        Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917), and state that you wish to enter an appearance
                        at the Fairness Hearing. It also must include your name, address, telephone number, and signature. Your
                        "Notice of Appearance" must be postmarked no later than June 12, 2014. You cannot speak at the Hearing if
                        you previously asked to be excluded from the Settlement.


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                        The Notice of Appearance must be sent to the addresses listed in FAQ number 8 above (Can I Object to the
                        Terms of the Settlements?).

                        The deadlines to submit a Notice of Appearance for the CPT, Philips, Panasonic, LG, and Toshiba Final
                        Approval Hearings have passed.

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                   13. Do I Have a Lawyer in the Case?

                        Yes. The Court has appointed the law firm of Saveri & Saveri, Inc. to represent Settlement Class Members as
                        "Interim Lead Counsel." Settlement Class Members do not have to pay Interim Lead Counsel. If you want to
                        be represented by your own lawyers, and have that lawyer appear in court for you in this case, you may hire
                        one at your own expense.

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                   14. How Will the Lawyers be Paid?

                        Class Counsel are not asking for attorneys' fees at this time. At a future time, Interim Lead Counsel will ask
                        the Court for attorneys' fees not to exceed one-third (33.3%) of this or any future Settlement Fund plus
                        reimbursement of their costs and expenses, in accordance with the provisions of the Settlement Agreements.
                        Interim Lead Counsel may also request that an amount be paid to each of the Class Representatives who
                        helped the lawyers on behalf of the whole Class.

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